Case 2:18-cr-00211-JTM-MBN Document1-1 Filed 10/05/18 Page 1 of 1

PER 18 U.S.C. 3170

 

 

DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

 

BY: [¥] INFORMATION [J INDICTMENT

 

O Other than Juvenile
([] Defendant Added
oO Charges/Counts Added

Matter Sealed: C] Juvenile
oO Pre-Indictment Plea O Superseding

Indictment
Information

 

Name of District Court, and/or Judge/Magistrate Location (City)
EASTERN

Divisional Office
Donna V. Knight
U.S. Atty CL] Other U.S. Agency

 

UNITED STATES DISTRICT COURT
DISTRICT OF LOUISIANA

 

 

Name and Office of Person
Furnishing Information on

 

 

THIS FORM Phone No. (504) 680-3000
Name of Asst.

U.S. Attomey John F. Murphy

(if assigned)

 

PROCEEDING

Name of Complainant Agency, or Person (& Title, if any)

D.E.A.

 

person is awaiting trial in another Federal or State Court
(give name of court)

 

CT] this person/proceeding transferred from another district
per (circle one) FRCrP 20, 21 or 40. Show District

 

CASE NO.

 

 

USA vs.

Defendant: KEITH WILKINSON, RPh.

 

Address:

 

[] Interpreter Required - Dialect:

a Male
Cl Female

Birth
Date

J Alien

1975 (if applicable)

Social Security Number

 

 

XXX-XX- 4673
+

 

 

DEFENDANT

 

 

[| this is a reprosecution of charges
previously dismissed which were
dismissed on motion of:

LJ U.S. Atty oO Defense
SHOW

C] this prosecution relates to a DOCKET NO.

pending case involving this same
defendant. (Notice of Related
Case must still be filed with the

Clerk.)

CO prior proceedings or appearance(s) ee NG. E

before U.S. Magistrate Judge
regarding this defendant were
recorded under

 

 

 

 

Place of
offense 1

St. Bernard Parish County

 

 

Issue: [__] Warrant Summons

Location Status:

Arrest Date or Date Transferred to Federal Custody

LJ Currently in Federal Custody

CJ Currently in State Custody
[ writ Required

C Currently on bond

O Fugitive

Defense Counsel (if any); Patrick Fanning

 

Cl) Frpp [J cA [YZ] RETD

C] Appointed on Target Letter

 

Cc] This report amends AO 257 previously submitted

 

 

OFFENSE CHARGED - U.S.C. CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

 

 

 

 

 

 

Total # of Counts 2 (for this defendant only)

Covel (1,3, 4) went? & Section’ or = 3/ Felony = 4) Description of Offense Charged Count(s)
4 21: 841(a)(1) and 21:846 Conspiracy to dispense quantities of controlled substances 1

4 18:1957 and 18:2 Money laundering 2

 

 

 

 

 

 

 

 

 

"all
